     Case 3:15-cv-00231-DJH Document 1 Filed 03/25/15 Page 1 of 3 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE
                                         3:15-CV-231-DJH
                               Case No. __________________

JACQUELINE HALL-BECKETT,
ADMINISTRATRIX OF THE ESTATE
OF DENNIS BECKETT DECEASED                                                            PLAINTIFF

V.

REGENCY NURSING, LLC d/b/a REGENCY CENTER                                         DEFENDANT

                                   NOTICE OF REMOVAL

        Defendant, Regency Nursing, LLC d/b/a Regency Center, hereby removes to the United

States District Court for the Western District of Kentucky, Louisville Division, the action

captioned Jacqueline Hall-Beckett, Administratrix of the Estate of Dennis Beckett, deceased, v.

Regency Nursing, LLC d/b/a Regency Center, Case No. 15-CI-00910, which is currently pending

in Jefferson Circuit Court, in the Commonwealth of Kentucky. As grounds for removal of the

Action, Defendant states:

        1.     On or about February 24, 2015, Jacqueline Hall-Beckett, in her capacity as

Administratrix of the Estate of Dennis Beckett, filed a Complaint in Jefferson County Circuit

Court, Case No. 15-CI-00910. Defendant, Regency Nursing, LLC d/b/a Regency Center, was

served with a summons and a copy of the Complaint on February 27, 2015, through its agent for

service of process, CSC- Lawyers Incorporating Service Company. Copies of all process and

pleadings in said action are attached hereto in accordance with 28 U.S.C. §1446(a).

        2.     Upon information and belief, Plaintiff is and was at all times relevant hereto,

including at the time of filing this Notice of Removal and at the commencement of Civil Action

No. 15-CI-00910, a citizen of the state of Ohio.
   Case 3:15-cv-00231-DJH Document 1 Filed 03/25/15 Page 2 of 3 PageID #: 2




       3.      Defendant, Regency Nursing, LLC d/b/a Regency Center, at all times relevant

hereto, including at the time of filing this Notice of Removal and at the commencement of Civil

Action No. 15-CI-00910, is a foreign limited liability company organized under the laws of the

state of Delaware with a principal place of business in Pennsylvania.

       7.      Due to the allegations raised in the Complaint attached hereto, Defendant believes

that Plaintiff seeks in excess of $75,000.00 in damages, exclusive of interest and costs.

       8.      This action is one over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C. §1332(a)(1) and is one that may be removed to this Court pursuant to 28

U.S.C. §1441(a). This is an action between citizens of different states.

       9.      This Notice of Removal is filed within thirty (30) days after Defendant received a

copy of Plaintiff’s Complaint, as required by 28 U.S.C. §1446(b).

       10.     A copy of this Notice of Removal will be filed with the Clerk for the Jefferson

Circuit Court, in the Commonwealth of Kentucky and served upon other counsel of record.

                                              Respectfully submitted,

                                              GWIN STEINMETZ & BAIRD, PLLC


                                               /s/ Michael F. Sutton
                                              Michael F. Sutton
                                              David L. Haney
                                              401 West Main Street, Suite 1000
                                              One Riverfront Plaza
                                              Louisville, Kentucky 40202
                                              Telephone: (502) 618-5700
                                              Facsimile: (502) 618-5701
                                              Counsel for Defendant
                                              msutton@gsblegal.com
                                              dhaney@gsblegal.com
   Case 3:15-cv-00231-DJH Document 1 Filed 03/25/15 Page 3 of 3 PageID #: 3




                                CERTIFICATE OF SERVICE

    I hereby certify that on March 25, 2015, I electronically filed the foregoing with the Clerk of
the Court by using the CM/ECF system, which will send a notice of electronic filing to the
following:

M. Keith Poynter
THE SAMPSON LAW FIRM
450 South Third Street, 4th Floor
Louisville, Kentucky 40202
Telephone: (502) 584-5050
Attorney for Plaintiff


                                             /s/ Michael F. Sutton
                                             Michael F. Sutton
                                             David L. Haney
                                             401 West Main Street, Suite 1000
                                             One Riverfront Plaza
                                             Louisville, Kentucky 40202
                                             Telephone: (502) 618-5700
                                             Facsimile: (502) 618-5701
                                             Counsel for Defendant
